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                     EXHIBIT K
                                       Case 15-40289-mxm11 Doc 347-13 Filed 05/20/15                                                                        Entered 05/20/15 01:11:53                                     Page 2 of 2


Prepared for H. Thomas Moran, Chapter 11 Trustee of Life Partners Holdings, Inc.

LPHI, LPI, LPI FS CONSOLIDATED BUDGET ‐ SUMMARY
13 Week Cash Flow
May 19, 2015

                                                                                              1                 2               3             4              5              6               7             8             9             10           11           12           13
                                                                              Week Ended: 5/22/2015         5/29/2015       6/5/2015      6/12/2015      6/19/2015      6/26/2015       7/3/2015      7/10/2015     7/17/2015     7/24/2015    7/31/2015     8/7/2015    8/14/2015
Anticipated Cash Receipts
       Disposition of antiquities at cost (a)                                                        ‐              ‐              ‐             ‐              ‐              ‐              ‐             ‐             ‐             ‐        247,000           ‐           ‐
       Sales or loan proceeds for buildings and hangar, net of July lease back for buildings         ‐              ‐              ‐             ‐              ‐              ‐        1,400,000           ‐             ‐             ‐            ‐             ‐           ‐
       Servicing fee collection (b)                                                              205,600        205,600        205,600       205,600        205,600        205,600         10,000        10,000        10,000        10,000       10,000        10,000      10,000
Total Anticipated Cash Receipts                                                                  205,600        205,600        205,600       205,600        205,600        205,600      1,410,000        10,000        10,000        10,000      257,000        10,000      10,000

Cash Disbursements
   Operating
      Payroll Including Taxes & Benefits                                                         102,553            ‐          102,553            ‐         102,553            ‐          102,553            ‐        102,553            ‐       102,553           ‐       102,553
      Other Operating Expenses (c)                                                                   ‐          154,500            ‐              ‐             ‐          154,500            ‐              ‐            ‐              ‐       154,500           ‐           ‐
   Subtotal Operating                                                                            102,553        154,500        102,553            ‐         102,553        154,500        102,553            ‐        102,553            ‐       257,053           ‐       102,553

   Policy Maintenance
      Est. premiums due on fractional positions held by LPI, Texas AG Stlmt, and BK polici            ‐          31,750            ‐              ‐              ‐          31,750             ‐             ‐             ‐             ‐        31,750           ‐            ‐
   Subtotal Policy Maintenance                                                                        ‐          31,750            ‐              ‐              ‐          31,750             ‐             ‐             ‐             ‐        31,750           ‐            ‐

   Bankruptcy Related
      Professional Fees                                                                               ‐              ‐             ‐              ‐              ‐              ‐       2,698,143           ‐              ‐             ‐      1,048,772          ‐            ‐
      US Trustee's Office Quarterly Fee                                                               ‐              ‐             ‐              ‐              ‐              ‐             ‐          10,400            ‐             ‐            ‐            ‐            ‐
   Subtotal Bankruptcy Related                                                                        ‐              ‐             ‐              ‐              ‐              ‐       2,698,143        10,400            ‐             ‐      1,048,772          ‐            ‐

Total Cash Disbursements                                                                         102,553        186,250        102,553            ‐         102,553        186,250      2,800,695        10,400       102,553            ‐      1,337,575          ‐       102,553

Net Cash Flow                                                                                    103,048         19,350        103,048       205,600        103,048         19,350      (1,390,695)         (400)      (92,553)      10,000    (1,080,575)      10,000      (92,553)

   Beginning Cash                                                                              2,089,327      2,192,375      2,211,725     2,314,772      2,520,372      2,623,420       2,642,770     1,252,074     1,251,674     1,159,122    1,169,122       88,547       98,547
   Receipts                                                                                      205,600        205,600        205,600       205,600        205,600        205,600       1,410,000        10,000        10,000        10,000      257,000       10,000       10,000
   Disbursements                                                                                (102,553)      (186,250)      (102,553)          ‐         (102,553)      (186,250)     (2,800,695)      (10,400)     (102,553)          ‐     (1,337,575)         ‐       (102,553)
   Ending Cash                                                                                 2,192,375      2,211,725      2,314,772     2,520,372      2,623,420      2,642,770       1,252,074     1,251,674     1,159,122     1,169,122       88,547       98,547        5,995

(a) Antiquities (archeological, fossils) under research for highest value method of sale. $832k book value. Cash receipts in week 11 reflect firm offer in hand to buy select pieces.
(b) Assumes 90% of remaining balance of new April billings plus $10,000 per week collections of unpaid amounts from September billings will be collected over
next 6 weeks. For the last 7 weeks of forecast, assumes $10,000 per week of past due billings (September and April) are collected.
(c) Includes insurance, contract labor, postage, supplies, licenses, telephone, utilities and other operating expenses.
